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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

 UNITED STATES OF AMERICA
                                              No. 18 CR 323
                v.
                                              Judge John Robert Blakey
 KENNEDY SPENCER,
   also known as “Kenny,” and
 RONALD WILLIAMS
   also known as “Slim”


          AMENDED PROTECTIVE ORDER GOVERNING DISCOVERY

         Upon the unopposed motion of the government, pursuant to Fed. R. Crim. P.

16(d) and 18 U.S.C. § 3771(a)(1) and (8), it is hereby ORDERED:

         1.    All of the materials provided by the United States, or by third parties in

response to trial subpoenas, in preparation for, or in connection with, any stage of the

proceedings in this case (collectively, “the materials”) are subject to this protective

order and may be used by the defendants and defense counsel (defined as counsel of

record in this case) solely in connection with the defense of this case, and for no other

purpose, and in connection with no other proceeding, without further order of this

Court.

         2.    The defendants and defense counsel shall not disclose the materials or

their contents directly or indirectly to any person or entity other than persons

employed to assist in the defense, persons who are interviewed as potential witnesses,

counsel for potential witnesses, and other persons to whom the Court may authorize

disclosure (collectively, “authorized persons”). Potential witnesses and their counsel
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may be shown copies of the materials as necessary to prepare the defense, but may

not retain copies without prior permission of the Court.

      3.     Certain materials disclosed or to be disclosed by the government, or by

third parties in response to trial subpoenas, contain particularly sensitive

information, including medical information, mental health information, and

information concerning the sexual abuse of one or more persons other than the

defendants. These materials shall be plainly marked as sensitive by the government,

or at the request of the government, prior to disclosure. No such materials, or the

information contained therein, may be disclosed to any persons other than the

defendants, counsel for the defendants, persons employed to assist the defense, or the

person to whom the sensitive information solely and directly pertains, without prior

notice to the government and authorization from the Court. Absent prior permission

from the Court, information marked as sensitive shall not be included in any public

filing with the Court, and instead shall be submitted under seal (except if a defendant

chooses to include in a public document sensitive information relating solely and

directly to that defendant).

      4.     Defendants, defense counsel, and authorized persons shall not copy or

reproduce the materials except in order to provide copies of the materials for use in

connection with this case by the defendants, defense counsel, and authorized persons.

Such copies and reproductions shall be treated in the same manner as the original

materials.
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      5.     Defendants, defense counsel, and authorized persons shall not disclose

any notes or records of any kind that they make in relation to the contents of the

materials, other than to authorized persons, and all such notes or records are to be

treated in the same manner as the original materials.

      6.     Before providing materials to an authorized person, defense counsel

must provide the authorized person with a copy of this Order.

      7.     Upon conclusion of all stages of this case, all of the materials and all

copies made thereof shall be disposed of in one of three ways, unless otherwise

ordered by the Court. The materials may be (1) destroyed; (2) returned to the United

States; or (3) retained in defense counsel's case file. The Court may require a

certification as to the disposition of any such materials. In the event that the

materials are retained by defense counsel, the restrictions of this Order continue in

effect for as long as the materials are so maintained, and the materials may not be

disseminated or used in connection with any other matter without further order of

the Court.

      8.     To the extent any material is produced by the United States to the

defendants or defense counsel by mistake, the United States shall have the right to

request the return of the material and shall do so in writing. Within five days of the

receipt of such a request, the defendants and/or defense counsel shall return all such

material if in hard copy, and in the case of electronic materials, shall certify in writing

that all copies of the specified material have been deleted from any location in which

the material was stored.
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      9.     The restrictions set forth in this Order do not apply to documents that

are or become part of the public court record, including documents that have been

received in evidence at other trials, nor do the restrictions in this Order limit defense

counsel in the use of discovery materials in judicial proceedings in this case, except

that any document filed by any party which attaches or otherwise discloses specially

identified sensitive information as described in Paragraph 3, above, shall be filed

under seal to the extent necessary to protect such information, absent prior

permission from this Court.

      10.    Nothing contained in this Order shall preclude any party from applying

to this Court for further relief or for modification of any provision hereof.

                                         ENTER:


                                         JOHN ROBERT BLAKEY
                                         District Judge
                                         United States District Court
                                         Northern District of Illinois

Date: 12/29/2020
